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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                       )
  In re: Lordstown Motors Corp. and                                    )     Chapter 11
         Lordstown EV Corporation                                      )
                                                                       )     Case Nos. 23-10831 and 23-10832
                                          Debtors.                     )
                                                                       )


                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.




        Cedar Glade LP                                                     IEE S.A.
        Name of Transferee                                                        Name of Transferor

Name and Address where notices to transferee                               Last known address:
should be sent:
                                                                           12 Rue Pierre Richardot, Zone Industrielle,
Cedar Glade LP                                                             Echternach, L-6488, Luxembourg
600 Madison Avenue, 17th Floor
New York, NY 10022                                                         Court Claim # (if known): 757
Attn: Robert K. Minkoff, President                                         Amount of Claim: $63,946.22
                                                                           Date Claim Filed: September 28, 2023

Phone: (646) 979-4083                                                      Phone: (248) 804-5458
Last Four Digits of Acct #:                                                Last Four Digits of Acct #:

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct. #:

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Robert K. Minkoff                                                  Date: January 4, 2024
        Transferee/Transferee’s Agent


        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571



                                                                                                                      Local Form 138
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